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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO

                                     :
UNITED STATES OF AMERICA,            :            CASE NO. 1:17-cr-00066
                                     :
            Plaintiff,               :            OPINION & ORDER
                                     :            [Resolving Docs. 13, 17]
vs.                                  :
                                     :
KYLE ALLEN,                          :
                                     :
            Defendant.               :
                                     :

JAMES S. GWIN, UNITED STATES DISTRICT COURT JUDGE:

        Defendant Kyle Allen moves for a reduced sentence under the compassionate release

statute, 18 U.S.C. § 3582. 1 The Government opposes. 2

        For the following reasons, the Court DENIES Allen’s motion.

  I.         Background

        On April 4, 2017, Defendant Allen pleaded guilty to one count of felon in possession

of a firearm. 3 On August 23, 2017, this Court sentenced Allen to 84 months of incarceration

and three years of supervised release. 4

  II.        Discussion

        On January 14, 2021, Defendant Allen pro se moved for compassionate release. 5

Allen seeks a sentence reduction due to health conditions that increase Allen’s risk of serious

illness if he contracts COVID-19.



        1
         Docs. 13, 17.
        2
         Doc. 21.
       3
         Doc. 5.
       4
         Doc. 11.
       5
         Doc. 13. On April 1, 2021, counsel filed a supplement to Allen’s compassionate release
motion. Doc. 17.
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         The Government opposes. 6 The Government argues that Allen has not established

that extraordinary and compelling reasons warrant release.               Further, the Government

contends Allen remains a danger to the community.

         A. Exhaustion

         The Court may modify a defendant’s sentence upon a motion from the defendant if

the defendant filed the motion thirty or more days after the defendant sent a compassionate

release request to their warden. 7

         The Government concedes Defendant Allen has satisfied the statutory exhaustion

requirement. 8 Therefore, the Court moves on to consider Allen’s eligibility for a sentence

reduction.

         B. Eligibility

         Generally, to grant compassionate release, a court must: (1) “find that extraordinary

and compelling reasons warrant [a sentence] reduction,” 9 (2) “ensure that such a reduction

is consistent with applicable policy statements issued by the Sentencing Commission,” and

(3) “consider[ ] all relevant sentencing factors listed in 18 U.S.C. § 3553(a).” 10




         6
             Doc. 21.
         7
             18 U.S.C. § 3582(c)(1)(A); see also United States v. Alam, 960 F.3d 831, 834–35 (6th Cir.
2020).
         8
           Doc. 21 at 12.
         9
            “[I]n the absence of an applicable policy statement for inmate-filed compassionate-release
motions, district courts have discretion to define ‘extraordinary and compelling’ on their own
initiative.” U.S. v. Elias, 984 F.3d 516, 519–20 (6th Cir. 2021).
         10
               Id. (citing U.S. v. Jones, 980 F.3d 1098, 1111 (6th Cir. 2020) (citing
18 U.S.C. § 3582(c)(1)(A))) (internal quotation marks omitted).
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       However, there are presently no applicable Sentencing Commission policy

statements for inmate-filed compassionate release motions. 11 Therefore, in cases, as here,

where an inmate files a motion on their own behalf, the court “may skip step two.” 12

       The Court is not persuaded that extraordinary and compelling reasons warrant early

release. Though Defendant Allen suffers from hypertension and obesity, conditions that

increase Allen’s risk for serious illness if he contracts COVID-19, 13 he recently recovered

from an asymptomatic COVID-19 infection. 14 Accordingly, his present risk of a COVID-19

reinfection is likely lower. 15

       Moreover, the § 3553 sentencing factors do not support compassionate release. Allen

has a relatively long criminal history, including a prior conviction for felonious assault. The

Court sentenced Allen to 84 months of incarceration in an effort prevent Allen from re-

offending. 16




       11
            See Elias, 984 F.3d at 519. (“[U.S.S.G.] § 1B1.13 is not an applicable policy statement for
compassionate-release motions brought directly by inmates, and so district courts need not consider
it when ruling on those motions.”); Jones, 980 F.3d at 1108 (stating that “[t]he Commission’s policy
statement on compassionate release resides in U.S.S.G. § 1B1.13” but explaining that “§ 1B1.13
does not ‘appl[y]’ to cases where an imprisoned person files a motion for compassionate release.”).
         12
            Jones, 980 F.3d at 1111.
         13
             See Centers for Disease Control and Prevention, Medical Conditions, Mar. 29, 2021,
https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-
conditions.html (last visited April 22, 2021).
         14
            Doc. 17-2. See also Doc. 17 at 3–4. Doc. 21 at 13.
         15
            See Combat COVID, I Had COVID-19 in the Past, https://combatcovid.hhs.gov/ive-had-
covid-19 (last visited April, 22, 2021) (“However, of the millions of patients who have recovered
from COVID-19, which is caused by a coronavirus, only a handful have been confirmed as having
gotten the disease again. Based on the reported recurrence rate from the early stages of ongoing
research, the changes of becoming reinfected appear to be very small.”).
         16
            Doc. 12.
                                                 -3-
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 III.    Conclusion

        For the foregoing reasons, the Court DENIES Allen’s request for compassionate

release pursuant to 18 U.S.C. § 3582(c)(1)(A)(i).



        IT IS SO ORDERED.


 Dated: April 26, 2021                          s/   James S. Gwin
                                                JAMES S. GWIN
                                                UNITED STATES DISTRICT JUDGE




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